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                                       ORDERED.


     Dated: June 03, 2019




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

In re:
                                                             CASE NO.: 18-03558-PMG
JOSEPH MICHAEL THOMAS,

      Debtor.
____________________________/

                      CONSENT ORDER GRANTING MOTION
                    FOR RELIEF FROM AUTOMATIC STAY FILED
                BY NATIONSTAR MORTGAGE, LLC D/B/A MR. COOPER

         This Chapter 7 case came before the Court on the Motion for Relief from Automatic Stay

(the “Motion”) filed by Nationstar Mortgage, LLC d/b/a Mr. Cooper (“Mr. Cooper”) on April 29,

2019 (Doc. No. 39), and the response thereto filed on May 9, 2019 (the “Response”) (Doc. No.

41) by Gordon P. Jones, the Chapter 7 Trustee (the “Trustee”). Upon agreement of the parties, it

is ORDERED:

         1.     The Motion is granted, subject to the provisions herein.

         2.     The automatic stay arising by virtue of 11 U.S.C. § 362 of the Bankruptcy Code is

terminated as to Mr. Cooper’s interest in the Property (defined herein below), effective one-

hundred and twenty (120) days from the date of entry of this Order.
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       3.     To the extent herein, Mr. Cooper shall be entitled to in rem relief as to its interest

in the real property commonly known as 96347 Starfish Drive, Yulee, Florida 32097 (the

“Property”), and which Property is more specifically described as:

              LOT 320, HERON ISLES PHASE TWO, ACCORDING TO
              THE PLAT THEREOF RECORDED IN PLAT BOOK 7,
              PAGES 218 THROUGH 228, OF THE PUBLIC RECORDS OF
              NASSAU COUNTY, FLORIDA.

              Parcel ID No. 37-3N-28-0740-0320-0000.

       4.     In the event Mr. Cooper provides written approval to a sale of the Property, the

parties may request from the state court that any scheduled foreclosure sale of the Property be

delayed to facilitate such sale.

       5.     This Order is entered for the sole purpose of allowing Mr. Cooper to complete in

rem relief to take any and all steps necessary to exercise any and all rights it may have in the

collateral, to gain possession of said collateral, to have such other and further in rem relief as is

just. Mr. Cooper shall not obtain in personam relief against the Debtor, Joseph Michael Thomas.

       6.     The 14-day stay imposed by Fed. R. Bankr. P. 4001(a)(3) is waived.




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       The parties consent to the form and substance of this Order.



  /s/ Eugene H. Johnson
 _________________________                          /s/Steven G. Powrozek
 Eugene H. Johnson, Esq.                            Steven G. Powrozek, Esq.
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                                                    Mr. Cooper
 Attorneys for Gordon P. Jones,
 Chapter 7 Trustee



               Filer’s Attestation: Pursuant to Local Rule 1001-2(e)(3) regarding
               signatures, Eugene H. Johnson, Esq. attests that concurrence in the
               filing of this paper has been obtained.


Attorney Eugene H. Johnson, Esq. is directed to serve a copy of this Order on interested parties
who are non-CM/ECF users and file a proof of service within 3 days of entry of the Order.




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